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                                                            United States Courts
                                                          Southern District of Texas
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                                                               March 18, 2020
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                                                        David J. Bradley, Clerk of Court
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me telephonically.


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